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 1   [Counsel Listed on Signature Page]

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 6                                UNITED STATES DISTRICT COURT
 7                               NORTHERN DISTRICT OF CALIFORNIA
 8                                   SAN FRANCISCO DIVISION
 9
                                                     Case No. 3:20-cv-02345-WHO
10   IN RE: JUUL LABS, INC. ANTITRUST
     LITIGATION                                      JOINT CASE MANAGEMENT STATEMENT
11

12
     �is Document Relates To:                        Judge:      Hon. William H. Orrick
13                                                   Date:       August 13, 2024
     ALL ACTIONS                                     Time:       2:00 PM
14                                                   Location:   Zoom
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 1             Pursuant to the February 23, 2024 Notice Setting Zoom Hearing (ECF No. 383), the

 2   Direct Purchaser, Indirect Purchaser, and Indirect Reseller Antitrust Plaintiffs (“Plaintiffs”);

 3   Defendants Altria Group, Inc. and Altria Enterprises LLC (“Altria”); and Juul Labs, Inc.,

 4   Nicholas Pritzker, and Riaz Valani (“JLI”) (collectively “Defendants”) (all collectively

 5   “Parties”), jointly submit this Statement for the August 13, 2024 Case Management Conference.

 6               I.    Status of Mediation

 7             On May 22, 2024, the Court entered an order approving the Parties’ stipulation to extend

 8   certain dates in the Court’s existing schedule and temporarily postpone deposition practice so

 9   that the Parties could pursue mediation until the earlier of August 16, 2024 or a determination

10   that mediation had concluded. ECF Nos. 400, 401. Mediation efforts are still underway. To

11   comply with the Court’s current schedule, as set forth in ECF No. 401, the Parties are proceeding

12   with discovery.

13              II.    Status of Discovery

14             Discovery is ongoing, and there are currently no discovery disputes that require the Court’s

15   intervention.

16             Depositions. Depositions had not commenced before discovery was partially paused for

17   mediation. Plaintiﬀs had served a deposition notice for one witness and await conﬁrmation from JLI as

18   to whether it would accept service of a deposition notice on behalf of another witness. Plaintiﬀs intend

19   to provide Defendants with an omnibus list of proposed deponents on or about August 16, 2024.

20   Defendants intend to depose each named Plaintiﬀ, each of whom also proposes to serve as a class

21   representative. 1 �e Parties will meet and confer following receipt of Plaintiﬀs’ proposed list of
22   additional depositions and are optimistic that a mutually agreeable schedule can be negotiated.
23             Given the nature of the case, the Parties agree that some enlargement of the 10-deposition limit
24   in Fed. R. Civ. P. 30(a)(2)(A)(i) will be required, although they may ultimately disagree on the number
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             There are currently 20 named Plaintiffs in this action: three Direct Purchaser Plaintiffs, eight
27   Indirect Reseller Plaintiffs and nine Indirect Purchaser Plaintiffs. The Indirect Reseller and Indirect
28   Purchaser Plaintiffs have indicated that they intend to voluntarily dismiss at least two of these named
     Plaintiffs.

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 1   of depositions that are appropriate or whether certain proposed witnesses should be deposed. �e

 2   parties are in the process of negotiating a deposition protocol.

 3           Written Discovery. �e Parties are close to substantially completing document discovery.

 4   Plaintiﬀs also intend to serve limited interrogatories, requests for production, and requests for

 5   admissions on Defendants, as well as additional discovery on non-parties prior to the September 13,

 6   2024 written fact discovery deadline. Plaintiﬀs continue to negotiate responses to third-party subpoenas

 7   and have agreed to extend response deadlines for certain third-party subpoenas. Defendants may serve

 8   additional limited discovery on the named Plaintiﬀs or third parties, and in addition have identiﬁed a

 9   number of apparent deﬁciencies in Plaintiﬀs’ discovery responses about which they will confer with

10   Plaintiﬀs’ counsel.

11           Additional Items. Plaintiﬀs have raised certain issues related to evidence from third parties

12   introduced in the FTC proceedings, which are governed by a protective order in that proceeding, and

13   are conferring with Defendants about those issues. �e Parties are also conferring about the scope of

14   use of prior testimony and exhibits from the FTC proceeding at deposition and trial in this matter, as

15   well as evidence received in camera.

16           All parties each reserve their respective rights.

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 1                                  L.R. 5-1 SIGNATURE ATTESTATION

 2          As the ECF user whose user ID and password are utilized in the ﬁling of this document, I
 3   attest under penalty of perjury that concurrence in the ﬁling of the document has been obtained
 4   from each of the other signatories.
 5
     Dated: August 6, 2024                        By:       /s/ Joseph R. Saveri
 6                                                              Joseph R. Saveri
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